                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                   MINUTE SHEET

UNITED STATES OF AMERICA                             Date:       November 2, 2021

vs.                                                  Case No.: 21-03016-01-CR-S-BCW

PATRICIA ASHTON DERGES


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Motion Hearing

Time Commenced: 9:02 a.m.                                     Time Terminated: 11:37 a.m.


                                    APPEARANCES

Plaintiff:   Randy Eggert and Shannon Kempf, AUSA
Defendant:   Albert S. Watkins, Retained


Proceedings: Parties appear as indicated above. Defendant appears in person.

             Motions to Dismiss Superseding Indictment; Recuse Assistant United States
             Attorney Shannon Kempf (Doc. # 48) and (Doc. # 83):

             Court asks questions to counsel. Arguments made regarding questions from
             the court.

             Government’s Case: Witness Vivek Reddy sworn and testifies on direct,
             cross, redirect and recross examinations and answers questions propounded
             by the court. Government Exhibit 1 was offered and admitted without
             objection for the limited purpose of this hearing. Witness excused. Witness
             Brian Watts sworn and testifies on direct and cross examinations.
             Government Exhibits 2 and 3 was offered and admitted without objection for
             the limited purpose of this hearing. Witness excused. 10:24 a.m. Recess.
             10:35 a.m. Reconvene. Witness Teresa Dailey sworn and testifies on direct,
             cross and redirect examinations. Government Exhibits 4 and 5 was offered
             and admitted without objection for the limited purpose of this hearing.
             Witness excused. Witness Amanda Burrows sworn and testifies on direct,
             cross and redirect examinations. Witness excused.



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             Court takes the matter as submitted on the record.

             Defendant on bond.


Witnesses:

Dr. Vivek Reddy – University of Utah Medical Center (9:27 a.m. – 10:07 a.m.)
Brian Watts – Deputy General Counsel, University of Utah (10:08 a.m. – 10:24 a.m.)
Special Agent Teresa Dailey, United States Department of Health and Human Services
(10:35 a.m. -11:04 a.m.)
Amanda Burros – (11:05 a.m. – 11:26 a.m.)


Courtroom Deputy/ERO: Karla Berziel




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